                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )      Criminal No. 3:12-00198
                                                   )      Judge Trauger
[1] PHILIP BRENT JOHNSON                           )

                                         ORDER

       It is hereby ORDERED that this case is set for a change of plea hearing on Tuesday,

August 13, 2013, at 1:30 p.m.

       It is so ORDERED.

       ENTER this 9th day of August 2013.


                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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